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UNITED STATES BANKRUPTCY COURT
SOUTHERN DlSTRICT OF FLORIDA
FORT LAUDERDALE DIVISION

In re: Case No.: 18-26085-BKC-RAM

Chapter 7
BARRY DE VERTEUIL

SSN:XXX-XX-3 728

Debtor.
/

SUBPOENA FOR RULE 2004 EXAMINATION

To: AIMEE KATHRYN SIMON
4090 Cedar Creek Ranch Cir
Lake Worth, Florida 33467

Testimr)ny: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an
examination under Rule 2004, Federal Rules of Bankruptcy Procedure and Local Rule 2004-1.

 

PLACE DATE AND TIME
Bast Amron LLP Tuesday, April 9, 2019
One Southeast Third Ave., Suite 1440 10:00 a.m. EST
Miami, FL 33131

 

 

 

The examination will be recorded by this method: Stenographer

NProdz/czion: You, or your representatives, must also produce on or before Tt_lesdav, April ;, 2019 at 5:00 n.m. thc
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lowing documents, electronically stored information, or objects, and must permit inspection, copying, testing, or sampling
of the material:

DOCUMENTS LISTED IN THE ATTACHED SCHEDULE “A”

The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached _ Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a

subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: March 14 2019

 

CLERK OF COURT

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Signature ofClerk or Deputy Clerk l 1 Attq®€?'$`!~ig-namk

T he name, address, entail address, and telephone number of the attorney representing (Ba)'ry E. Mukamal. as Chapter 7 Trustee
for the bankruptcy Estate of Bar)jy a'e Verteuil) who issues or requests this subpoena, are:

 

Hayley Harrison, Esq.; One Southeast Third Avenue, Suite 1400, Miami, FL 33131; hharrison@bastamron.com; 305-379-7904

Notice to the person who issues or requests this subpoena
lt` this subpoena commands the production ot` documents, electronically stored information, or tangible things, or the inspection of premises before

trial, a notice and a copy of this subpoena must be served on each party before it is served on the person to whom it is directed Fed. R. Civ. P.
45(a](4).

 

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PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (narne ofindividual and title, if any): Aimee Kathryn SimonL 4090 Cedar Creek Ranch Cir.
Lake Worth. FL 33467 on March 14, 2019

 

werved the subpoena by delivering a copy to the named person as follows: Via U.S. Mail on March 14. 2019

 

on (date) ; or

 

I:I l returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of S

 

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true and correct.

Dare: March 14 2019 kl/![/(>q¢§{/_) /L,c,_/ ?j,\

Serv r’s s`gnature

   

 

Nakeisha Jones, Paralega

 

Printed name and title

One Southeast Third Avenue, Suite 1400, Miami, FL 33131

 

Server’s address

Additional information concerning attempted service, etc.:

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SCHEDULE “A”
DEFINITIONS:

For purposes of responding to duces tecum request for deposition, the following
definitions shall apply:

1. “You” or “Your” means Aimee Kathryn Simon and her agents, attorneys,
accountants, representatives, affiliates, predecessors, successors and/or assigns.

2. “Debtor,” means Barry de Verteuil and his agents, attorneys, accountants,
representatives, affiliates, predecessors, successors and!or assigns.

3. “Petition Date” means December 28, 2018,

4. “Petition” means the voluntary bankruptcy petition filed on December 28, 2018,
which commenced this case.

5. “Document” or “documents” as used herein shall mean the original and any copy,
regardless of its origin and location, of all writings of any kind whatsoever including, but not
limited to, all abstracts, accounting journals, accounting ledgers, advertisements, affidavits,
agendas, agreements or proposed agreements, analyses, appointment books, appraisals, articles
of incorporation, balance sheets, bank checks, bank deposit or withdrawal slips, bank credit or
debit memoranda, bank statements, blue prints, books, books of account, budgets, bulletins,
bylaws, canceled checks, charts, ehecks, codes, communications, communications with
government bodies, computer data or printouts, conferences, contracts, correspondence, data
processing cards, data sheets, desk calendars, details, diagrams, diaries, disks or data
compilations from which information can be obtained or translated, drafts, drawings,
electromagnetic tapes, files, films, financial calculations, financial projections, financial
statements, graphs, handwritten notes or comments however produced or reproduced, indexes,
insertions, instructions, internal accounting records, interoffice communications, invoices,

ledgers, letters, lists, logbooks, manuals, memoranda, microfilm, minutes of meetings, motion

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pictures, newspaper or magazine articles, networks, nonconforming copies which contain
deletions, notations or records of meetings, notes, notices of wire transfer of funds, outlines,
pamphlets, papers, passbooks, periodicals, photocopies, photographs, pictures, plans, preliminary
drafts, press releases, proposals, publications, punch cards, raw and refined data, receipts,
recommendations, records, records of conferences or conversations or meetings, records of
payment, reports, resolutions, results of investigations, schedules, schematics, sepia, shipping
papers, slides, specifications, speeches, statements of account, studies, summaries, surveys, tape
recordings, tax returns, telegrams, telephone logs and records, telephone and other conversations
or communications, teletypes, telexes, transcripts, transcripts of tape recordings, video tapes,
voice records, vouchers, work papers, worksheets, written notations, and any and all digital or
analog electronic files whether on- or off-site, including “deleted” files and file fragments, store
in machine-readable format on magnetic, optical or other storage media, including the hard
drives or floppy disks and their backup media (e.g., other hard drives, backup tapes, floppies,
JAZ cartridges, CD-ROMSS) or otherwise, whether such files have been reduced to paper
printouts or not. This includes but is not limited to E-mails, both sent and received, whether
internally or externally; all word-processed files, including drafts and revisions; all spreadsheets,
including drafts and revisions; all databases; all CAD (computer aided design) files, including
drafts and revision; all presentation data or slide shows produced by presentation software (such
as Microsoft Power Point); all graphs, charts and other data produced by project management
software (such as Microsoii Project); all data generated by calendaring, task management and
Personal Information Management (PIM) software (such as Microsoft Outlook or Lotus Notes);
all data created With the use of Personal Data Assistants (PDA’s), such as Palm Pilot, HP
Jornada, Cassiopeia or other Windows CE-based or Pocket PC devices; all data created with the
use of document management software; all data created with the use of paper and electronic mail

logging and routing software; all Intemet and Web-browser-generated history files, caches and

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“cookies” files and all backup storage media, and any and all other papers similar to any of the
foregoing Any document containing thereon or attached thereto any alterations, comments,
notes or other material not included in the copies or originals or referred to in the preceding
definition shall be deemed a separate document within said definition. Any document shall
include all exhibits, schedules or other writings affected by or referenced in any such document
or other writings necessary to complete the information contained therein or make it not
misleading

6. “And” and “or” as used herein are terms of inclusion and not of exclusion, and
shall be construed either disjunctiver or conjunctively as necessary to bring within the scope of
the request for production of documents any document or information that might otherwise be
construed to be outside its scope.

7. “Interest” as used herein includes, but is not limited to, a sole or aggregation of
rights, privileges, and powers to hold, possess, control, influence, exclude, or benefit from. It
includes any legally recognized right conferred upon an owner, shareholder, director, partner,
limited partner, or by any other interest, legal or equitable, which allows the holder to control or
otherwise influence or benefit from an entity or real or personal property.

8. “Any” means one or more.

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9. “Describe,” “discuss, analyze,” “describing,” “discussion,” or “analyzing,”
mean any document or otherwise that, in whole or in part, characterizes, delineates, explicates,
deliberates, evaluates, appraises, assesses or provides a general explanation of the specified
subject.

10. “Person” means any natural person, corporation, partnership, company, sole
proprietorship, association, institute, joint venture, firm, governmental body, or other legal entity,

whether privately or publicly owned or controlled, for profit or not-for-profit, or partially or fully

government owned or controlled.

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ll. “Relate to” and “relating to” mean to make a statement about, refer to, discuss,
describe, reflect, contain, comprise, identify, or in any way to pertain to, in whole or in part, or
otherwise to be used, considered, or reviewed in any way in connection with, the specified
subject. Thus, documents that “relate to” a subject also include those which were specifically
rejected and those which were not relied or acted upon.

12. The singular form of a noun or pronoun shall be considered to include within its
meaning the plural form of the noun or pronoun, and vice versa. The masculine form of a noun
or pronoun shall be considered to include within its meaning the feminine form of the noun or
pronoun, and vice versa.

13. Regardless of the tense employed, all verbs shall be read as applying to the past,
present and future as is necessary to make any paragraph more, rather than less, inclusive.

14. “Year” means calendar year.

15. Unless otherwise provided, the applicable scope of time is from December 28,

2014 to the present.

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SCHEDULE “A”
PLEASE PROVIDE COPIES OF THE FOLLO`WING:

l. All information and documentation evidencing, relating or referring to the
October 2003 purchase of the real property located at 19750 Lenaire Drive, Cutler Bay, FL
33157 and the source of funds used for the deposit and down payment in connection with same,
including, but not limited to, a copy of the HUD-l Settlement Statement.

2. All information and documentation evidencing, relating or referring to the
February 2019 sale of the real property located at 19750 Lenaire Drive, Cutler Bay, FL 33157
and the disposition of the proceeds received from same, including, but not limited to, a copy of
the HUD-l Settlement Statement.

3. All information and documentation evidencing, relating or referring to: (a) the
transfer of the Debtor’s interest in the real property located at 19750 Lenaire Drive, Cutler Bay,
FL 33157 to You in August 2018; and (b) the consideration, if any, the Debtor received in
exchange for said transfer.

The Trustee reserves the right to request additional documents as his investigation

continues, as the Examination proceeds, as additional issues are uncovered, and as
clarifications are required.

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